EXHIBIT D

 
DRG: Dayus Register & Grille susmirtat prawine

Bar Linear J-Bead Flange Grille

DABLJ

«= Fully extruded aluminum construction for a stylish built in look

«  J-Bead recessed fiange frame must be taped & plastered over

« improved design allows for true flangless look and easier
installation

« =>. Fixed blades designed for jong straight air throw

« Sectlons fonger than 84” are joined together far continuous

appearance with the aligning pins provided

Available on 1/2” increments as standard

 

 

 

 

 

 

 

    

a
« Custom sizes available, Extra charge may apply
+ Durable powder coat painted finish
« ~— Available in White, Silver, Brown, Mill or Black
» Plaster finishing is the responsibility of the installer
HOW TO ORDER
DABLJ -00-TB 30x4 COLOR
Blade Mounting Length & White, Sliver
Not suitable for floor use 00-0416 AcrTB  Helght Brown, Mill
: -30,-B2,-B4 or Black
ust SHE 4 ee
8

 

PPE —
\
— LISE SRE —1/s"—~|

 

 

 

—-| LIST SIZE - 4/2" be

 

——— HT SZE- 1/2"

 

 

 

fe 5 tat ' ‘ :
o ERECESSCO_ [invisible lip design allows

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

HH = m ’ for a true frameless look
i mound eM, and easier installation
. TAPER GRYWALL AS REQUIRED -
J 4 VARIES (10 MAX) tae
, ee
—— LIST SIZE = 1/8 | Leena isd
MODEL DABLJ JOB NAME:
FACE BLA Horizontal Fixed . :
pES wr LOCATION:
REAR BLADES na
ARCHITECT:
DAMPER n/a
ENGINEER:
MATERIAL Aluminum . .
White/Silver/Mil CONTRACTOR:
COLOR Brown/Biack

 

 

 

 

 

 

Phone: (519) 737-1199 Fax: (519) 737-1834 ORGH Day us Register & Grille

Email: mail@dayus.com ‘Web: www.dayus.com 5290 yus' St., RR#1 » Windsor, Ontario » N9A 6/3
Page S109 var, O8F

 
DRGE: Dayus Register & Grille susmirtat prawinc

Bar Linear Blade Options

-00- -01-

0° 13/64" blades on 1%” centers 0° 1/4” blades on %" centers

 

 

 

 

 

 

 

 

 

-15- -30-

15° 13/54" blades on 7%” centers 30° 13/54" blades on 4” centers

 

 

 

 

 

 

 

 

 

0° 1/3” blades on 1%” centers 0° 1/2” blades on %4” centers

“Tae bene

   

 

 

 

 

 

 

 

 

e Additional charges apply for the -84 core option

Phone: (519) 737-1199 Fax: (519) 737-1831 DAGH: Day us Register & Grille

ea
Emall: mail@dayus.com Web: www.dayus,.com i 5290 ys St, RAH » Windsor, Ontario» NS&BI3

 
DAG: Dayus Register & Grille susmirtat prawine

Bar Linear Mounting Options

-A -B

SCREWS SPRING CLIPS
Color matched screws with countersunk screw holes. Clips behind the flange keep grille snug in
Suitable for ceiling, wail or sill installation. opening and are not visible from the face.

Only for floor and sill applications.
NOT suitable for wail or ceiling use.

 

 

 

 

 

 

 

 

-C -D

CONCEALED BRACKETS SIDEWALL SCREW HOLES
Grille gets fastened to duct-mounted brackets Screw holes drilled at 45° on inner flange.
that are concealed behind the blades. Only available with -R Removable core.
Suitable for ceiling, wall or sill installation. (Removable option not available for floor}

Suitable for ceiling, wail or sill installation.

“4 fi: ut

  

These mounting options
are not available
with the J-bead frame ,

    
   
 

 

 

 

 

 

 

  

NO MOUNTING OPTION

For custom applications.

Z| A AR

 

 

 

 

 

 

Phone: (519) 737-1199 Fax: (519) 737-1834 DRGH Dayus Register & Grille
Email: mail@dayus.com Web: www.dayus.com 5290 Pulleybiank St., RR#1 « Windsor, Ontario » N9A 63

var, OG?
